 

Case 3:10-cv-00911-TJC-JK Document 7 Filed 12/20/10 Page 1 of 1 PagelD 25

FILED

UNITED STATES DISTRICT CO Rb bec DF
MIDDLE DISTRICT OF FLORI
JACKSONVILLE DIVISION CLERS. US US
JAMIE GARCIA,

Plaintiff,
vs. Case No. 3:10-cv-911-J-99TJC-JRK

ACADEMY COLLECTION SERVICE
INC.,

Defendant.

 

ORDER

 

Upon review of the plaintiffs Notice of Voluntary Dismissal (Doc. 6), this case is
dismissed without prejudice. The Clerk shall close the file.

DONE AND ORDERED at Jacksonville, Florida, this ad say of December, 2010.

JZ

TIMOTHY J. CORRIGAN
United States District Judge

mg.
Copies to:
Counsel of Record

 
